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 4
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 6
 7                              UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
     ANA VENTURA,                                  Case No.:
10
                  Plaintiff,                       COMPLAINT FOR INJUNCTIVE
11                                                 RELIEF AND DAMAGES FOR DENIAL
           vs.                                     OF CIVIL RIGHTS OF A DISABLED
12                                                 PERSON IN VIOLATIONS OF
13                                                 1. AMERICANS WITH DISABILITIES
                                                   ACT, 42 U.S.C. §12131 et seq.;
14   SUPREMA INVESTMENTS, INC.;
     VICTOR CARABELLO, AS TRUSTEE                  2. CALIFORNIA’S UNRUH CIVIL
15                                                 RIGHTS ACT;
     OF THE OSCAR CARABELLO
16   EXEMPTION TRUST; and DOES 1 to 10,            3. CALIFORNIA’S DISABLED
                                                   PERSONS ACT;
17                Defendants.
                                                   4. CALIFORNIA HEALTH & SAFETY
18                                                 CODE;
19                                                 5. NEGLIGENCE
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22
23
           Plaintiff ANA VENTURA (“Plaintiff”) complains of Defendants SUPREMA
24
     INVESTMENTS, INC.; VICTOR CARABELLO, AS TRUSTEE OF THE OSCAR
25
     CARABELLO EXEMPTION TRUST; and DOES 1 to 10 (“Defendants”) and alleges as
26
     follows:
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     //
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                                          COMPLAINT - 1
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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is a
 3   paraplegic and is substantially limited in her ability to walk. Plaintiff requires the use of a
 4   wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a supermarket
 7   (“Business”) located at or about 4529 Whittier Blvd, East Los Angeles, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.).
28




                                              COMPLAINT - 2
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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about February of 2025, Plaintiff went to the Business.
11         11.    The Business is a supermarket business establishment, open to the public,
12   and is a place of public accommodation that affects commerce through its operation.
13         12.    While attempting to enter the Business during each visit, Plaintiff personally
14   encountered a number of barriers that interfered with her ability to use and enjoy the
15   goods, services, privileges, and accommodations offered at the Business.
16         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
17   included, but were not limited to, the following:
18                a.     Defendants failed to maintain accessibility for persons with
19                       disabilities to comply with the federal and state standards. Defendants
20                       failed to provide at least one accessible entrance as required as the
21                       ramp that runs up to the entrance did not have level landing and had a
22                       slope that was too steep.
23         14.    These barriers and conditions denied Plaintiff the full and equal access to the
24   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
25   patronize the Business; however, Plaintiff is deterred from visiting the Business because
26   her knowledge of these violations prevents her from returning until the barriers are
27   removed.
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                                            COMPLAINT - 3
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 1         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 2   there are additional barriers to accessibility at the Business after further site inspection.
 3   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 4   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 5         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 6   knew that particular barriers render the Business inaccessible, violate state and federal
 7   law, and interfere with access for the physically disabled.
 8         17.    At all relevant times, Defendants had and still have control and dominion
 9   over the conditions at this location and had and still have the financial resources to
10   remove these barriers without much difficulty or expenses to make the Business
11   accessible to the physically disabled in compliance with ADDAG and Title 24
12   regulations. Defendants have not removed such barriers and have not modified the
13   Business to conform to accessibility regulations.
14                                     FIRST CAUSE OF ACTION
15          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
16         18.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
19   shall be discriminated against on the basis of disability in the full and equal enjoyment of
20   the goods, services, facilities, privileges, advantages, or accommodations of any place of
21   public accommodation by any person who owns, leases, or leases to, or operates a place
22   of public accommodation. See 42 U.S.C. § 12182(a).
23         20.    Discrimination, inter alia, includes:
24                a.     A failure to make reasonable modification in policies, practices, or
25                       procedures, when such modifications are necessary to afford such
26                       goods, services, facilities, privileges, advantages, or accommodations
27                       to individuals with disabilities, unless the entity can demonstrate that
28                       making such modifications would fundamentally alter the nature of



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 1                    such goods, services, facilities, privileges, advantages, or
 2                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3              b.    A failure to take such steps as may be necessary to ensure that no
 4                    individual with a disability is excluded, denied services, segregated or
 5                    otherwise treated differently than other individuals because of the
 6                    absence of auxiliary aids and services, unless the entity can
 7                    demonstrate that taking such steps would fundamentally alter the
 8                    nature of the good, service, facility, privilege, advantage, or
 9                    accommodation being offered or would result in an undue burden. 42
10                    U.S.C. § 12182(b)(2)(A)(iii).
11              c.    A failure to remove architectural barriers, and communication barriers
12                    that are structural in nature, in existing facilities, and transportation
13                    barriers in existing vehicles and rail passenger cars used by an
14                    establishment for transporting individuals (not including barriers that
15                    can only be removed through the retrofitting of vehicles or rail
16                    passenger cars by the installation of a hydraulic or other lift), where
17                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
18              d.    A failure to make alterations in such a manner that, to the maximum
19                    extent feasible, the altered portions of the facility are readily
20                    accessible to and usable by individuals with disabilities, including
21                    individuals who use wheelchairs or to ensure that, to the maximum
22                    extent feasible, the path of travel to the altered area and the
23                    bathrooms, telephones, and drinking fountains serving the altered
24                    area, are readily accessible to and usable by individuals with
25                    disabilities where such alterations to the path or travel or the
26                    bathrooms, telephones, and drinking fountains serving the altered area
27                    are not disproportionate to the overall alterations in terms of cost and
28                    scope. 42 U.S.C. § 12183(a)(2).



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 1         21.      At least one accessible route shall connect accessible building, facilities,
 2   elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
 3   accommodation shall maintain in operable working condition those features of facilities
 4   and equipment that are required to be readily accessible to and usable by persons with
 5   disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 6         22.      Here, Defendants failed to provide at least one accessible entrance to the
 7   Business as the ramp that runs up to the entrance did not have level landing and had a
 8   slope that was too steep.
 9         23.      A public accommodation shall maintain in operable working condition those
10   features of facilities and equipment that are required to be readily accessible to and usable
11   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
12         24.      By failing to maintain the facility to be readily accessible and usable by
13   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
14   regulations.
15         25.      The Business has denied and continues to deny full and equal access to
16   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
17   discriminated against due to the lack of accessible facilities, and therefore, seeks
18   injunctive relief to alter facilities to make such facilities readily accessible to and usable
19   by individuals with disabilities.
20                                 SECOND CAUSE OF ACTION
21                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
22         26.      Plaintiff incorporates by reference each of the allegations in all prior
23   paragraphs in this complaint.
24         27.      California Civil Code § 51 states, “All persons within the jurisdiction of this
25   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
26   national origin, disability, medical condition, genetic information, marital status, sexual
27   orientation, citizenship, primary language, or immigration status are entitled to the full
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 1   and equal accommodations, advantages, facilities, privileges, or services in all business
 2   establishments of every kind whatsoever.”
 3         28.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 4   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 5   for each and every offense for the actual damages, and any amount that may be
 6   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 7   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 8   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 9   person denied the rights provided in Section 51, 51.5, or 51.6.
10         29.    California Civil Code § 51(f) specifies, “a violation of the right of any
11   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
12   shall also constitute a violation of this section.”
13         30.    The actions and omissions of Defendants alleged herein constitute a denial
14   of full and equal accommodation, advantages, facilities, privileges, or services by
15   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
16   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
17   51 and 52.
18         31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
19   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
20   damages as specified in California Civil Code §55.56(a)-(c).
21                                  THIRD CAUSE OF ACTION
22                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
23         32.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
26   entitled to full and equal access, as other members of the general public, to
27   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
28   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,



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 1   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 2   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 3   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 4   places of public accommodations, amusement, or resort, and other places in which the
 5   general public is invited, subject only to the conditions and limitations established by
 6   law, or state or federal regulation, and applicable alike to all persons.
 7         34.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 8   corporation who denies or interferes with admittance to or enjoyment of public facilities
 9   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
10   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
11   the actual damages, and any amount as may be determined by a jury, or a court sitting
12   without a jury, up to a maximum of three times the amount of actual damages but in no
13   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
14   determined by the court in addition thereto, suffered by any person denied the rights
15   provided in Section 54, 54.1, and 54.2.
16         35.    California Civil Code § 54(d) specifies, “a violation of the right of an
17   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
18   constitute a violation of this section, and nothing in this section shall be construed to limit
19   the access of any person in violation of that act.
20         36.    The actions and omissions of Defendants alleged herein constitute a denial
21   of full and equal accommodation, advantages, and facilities by physically disabled
22   persons within the meaning of California Civil Code § 54. Defendants have
23   discriminated against Plaintiff in violation of California Civil Code § 54.
24         37.    The violations of the California Disabled Persons Act caused Plaintiff to
25   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
26   statutory damages as specified in California Civil Code §55.56(a)-(c).
27                                FOURTH CAUSE OF ACTION
28                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.



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 1         38.    Plaintiff incorporates by reference each of the allegations in all prior
 2   paragraphs in this complaint.
 3         39.    Plaintiff and other similar physically disabled persons who require the use of
 4   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 5   such facility is in compliance with the provisions of California Health & Safety Code §
 6   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 7   provisions of California Health & Safety Code § 19955 et seq.
 8         40.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 9   that public accommodations or facilities constructed in this state with private funds
10   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
11   Title 1 of the Government Code. The code relating to such public accommodations also
12   require that “when sanitary facilities are made available for the public, clients, or
13   employees in these stations, centers, or buildings, they shall be made available for
14   persons with disabilities.
15         41.    Title II of the ADA holds as a “general rule” that no individual shall be
16   discriminated against on the basis of disability in the full and equal enjoyment of goods
17   (or use), services, facilities, privileges, and accommodations offered by any person who
18   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
19   Further, each and every violation of the ADA also constitutes a separate and distinct
20   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
21   award of damages and injunctive relief pursuant to California law, including but not
22   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
23                                   FIFTH CAUSE OF ACTION
24                                         NEGLIGENCE
25         42.    Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
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 1           43.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3    to the Plaintiff.
 4           44.    Defendants breached their duty of care by violating the provisions of ADA,
 5    Unruh Civil Rights Act and California Disabled Persons Act.
 6           45.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7    has suffered damages.
 8                                     PRAYER FOR RELIEF
 9           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10    Defendants as follows:
11           1.     For preliminary and permanent injunction directing Defendants to comply
12    with the Americans with Disability Act and the Unruh Civil Rights Act;
13           2.     Award of all appropriate damages, including but not limited to statutory
14    damages, general damages and treble damages in amounts, according to proof;
15           3.     Award of all reasonable restitution for Defendants’ unfair competition
16    practices;
17           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18    action;
19           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
20           6.     Such other and further relief as the Court deems just and proper.
21                                DEMAND FOR TRIAL BY JURY
22           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
23    demands a trial by jury on all issues so triable.
24
25    Dated: May 1, 2025                      SO. CAL. EQUAL ACCESS GROUP
26
27                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
28                                                   Attorneys for Plaintiff



                                            COMPLAINT - 10
